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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

INTEL CORPORATION,                                 §
                                                   §
               Plaintiff,                          §
                                                   §
v.                                                 §                   1:19-CV-20-RP
                                                   §
SHAHIL RAIS,                                       §
                                                   §
               Defendant.                          §
                                                   §

                                              ORDER

       Before the Court is Plaintiff Intel Corporation’s (“Intel”) Application for a Temporary

Restraining Order, Expedited Discovery, and a Preliminary Injunction against Defendant Shahil Rais

(“Rais”), (Dkt. 9). Having considered the motion, the supporting evidence, and the relevant law, the

Court will grant the TRO in part, order expedited discovery, and set a hearing on the motion for a

preliminary injunction.

                                        I. BACKGROUND

       Intel contends that Rais retained a company laptop (“Company Laptop”) with highly

confidential product development information after he resigned on May 7, 2018. (Mot. TRO, Dkt. 9,

at 4–5). As a program manager for Intel in Austin, Texas, Rais was responsible for a “highly

confidential new product” with a confidential code name. (Heany Decl., Dkt. 9-3, at 5 (“Ex. 1”)).

Rais’s employment agreement included a confidentiality agreement not to use or disclose “any

proprietary information or trade secret.” (Employment Agreement, Dkt. 9-3, at 13 (“Ex. 1-A”)). On

May 1, 2018, a week before Rais left Intel, he met with his manager Brad Heaney, a Vice President at

Intel (“Heany”). (Heany Decl., Dkt. 9-3, at 5 (“Ex. 1”)). Rais and Heany “discussed the fact that in

[Rais’s] role at Intel he had access to confidential Intel information that could not and should not be

communicated to anyone outside Intel or used by Rais outside Intel.” (Id. at 5–6). Three days later,


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on May 4, 2018, Rais signed a Trade Secret Acknowledgment Form (“TSAF”) by which Rais

acknowledged that he had “acquired knowledge or had access to trade secrets and other confidential

or proprietary information of Intel Corporation,” and “identified the following” categories of

information to which he had access at Intel: “financial and pricing information” for a highly

confidential product under development”; “business and new product plans”; “marketing

information” for a highly confidential new product; agreements with customers, suppliers, and other

companies; “yields, designs, efficiencies and capabilities of production methods, facilities, and

systems”; “process information”; “product designs and specifications”; and business group

information, including personnel lists and compensation. (Id. at 6–7).

        Rais left Intel on May 7, 2018. (Mot. TRO, Dkt. 9, at 5). He was instructed to turn in his

Company Laptop the same day, but did not. (Id. at 7). Sometime between May 7, 2018 and June 4,

2018, Heany learned that the Company Laptop was still in Rais’s possession. Heany states that “[i]t

was difficult to get in touch” with Rais, but “when [Heany] ultimately did, [he] informed [Rais] that

he needed to return the laptop immediately.” (Id.). Rais told Heany that he was traveling

internationally and would return the laptop when he was back in the United States. (Id.). On June 4,

2018, about a month after Rais had left Intel, Heany “asked again about the return of his laptop.”

(Id. at 8). Rais texted Heany the same day, “I got back Friday . . . I am currently on my way to the

Bay Area. I plan to hand off to someone to take to the Santa Clara office tomorrow.” (Id.).

        Rais returned his laptop to to the Santa Clara office on June 5, 2018. (Id.). Intel’s

Information Security team inspected the laptop and determined that Rais had downloaded folders

containing confidential Intel files onto a removable storage device (“the USB Device”) within the

final 24 hours before returning the laptop. (Mot. TRO, Dkt. 9, at 7; Heany Decl, Dkt. 9-3, at 8;

Talyai Decl., 9-3, at 19). A forensic examiner at Intel determined that four of the folders copied by

Rais were marked “Intel Confidential,” “Intel Restricted Secret,” or “Intel Top Secret.” (Talyai



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Decl., Dkt. 9-3, at 19). These folders contained more than 270 documents in a folder with the code

name for the confidential Product. (Id.). Intel’s forensic examination determined that Rais attempted

to copy 16 files that triggered data loss protection alerts (“DLP alerts”). DLP alerts appear “if a file

being copied contain[s] certain markings or classifications” indicating the file is confidential. (Id. at

20). Each of the DLP alerts “would have informed Rais that that the data was being transferred

without any protection applied, and asked him to provide a justification.” (Id.). For the justification

prompt, Rais typed “personal” for 15 of the files, and “test” for one. (Id.). After copying the files to

his USB Device, Rais deleted 14 of them from the Company Laptop. (Id.). The forensic examiner

cannot determine the full scope of documents saved to the USB Device without examining the

device itself. (Id. at 20). Intel has submitted a full list of documents from the four Product-related

folders that Rais copied to the USB Device but did not delete. (MD5 Hash Values, Dkt. 9-3, at 24–

32). Intel also determined that Rais e-mailed 188 Intel employee e-mail addresses to his personal

Hotmail account on the day he left Intel. (Talyai Decl., Dkt. 9-3, at 18).

        On August 14, 2018, Intel in-house counsel Renee Scatena (“Scatena”) mailed a letter to Rais

directing him to return the USB Drive and to cooperate immediately with Intel’s investigation. (See

Scatena Decl., Dkt. 9-3, at 35; Letter dated Aug. 14, 2018, Dkt. 9-3, at 38–39). A person at Rais’s

address refused to sign for the letter, so Scatena sent the letter by e-mail to his personal Hotmail

account on August 27, 2018. (Scatena Decl., Dkt. 9-3, at 35). On September 3, 2018, Rais e-mailed

Scatena that he had only copied personal files, such as wedding photos and tax documents—he did

not address the rest of the letter. (Id.). Scatena e-mailed him again on September 10, 2018 and

September 14, 2018, telling him she wanted to meet with him at an Intel facility and that he should

bring the USB Device with him. (Id.). Rais replied on September 17, 2018, stating: “You want to

meet to look at my personal files (tax files, home mortgage docs, pictures, personal files, etc)? I don’t

follow.” (Id.).



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        On September 28, 2018, outside counsel contacted Rais by e-mail and United States mail.

(Luedtke Decl., Dkt. 9-3, at 42). Rais agreed to meet with outside counsel, but said he had a new job

based in Europe and Asia and that he was traveling frequently. (Id. at 42–43). Rais “refused to ship

the USB Device back to Intel because he said it had confidential personal information on it and he

wanted to watch whomever was going to look for Intel confidential information on the device.” (Id.

at 43). On October 18, 2018, outside counsel spoke to Rais by telephone and sought to arrange for

him to deliver the device to a facility in Ireland or Malaysia, but Rais said he needed to check his

schedule. (Id. at 43). Outside counsel followed up with Rais on October 25, 2018, and he proposed

delivering the USB Device on December 10 or 11, 2018. (Id.). Outside counsel advised Rais that

December was “too late” given the confidentiality risks. (Id.). After several weeks of negotiating,

outside counsel agreed for Rais to deliver the USB in Penang, Malaysia in early December. (Id. at

44). Rais attended as planned, but did not bring the USB Device. (Id. at 44). Instead, despite

instructions not to bring a copy of the USB, and Intel’s communications identifying the USB at

issue, Rais brought a different USB that did not match the serial number of USB identified in the

forensic examination. (Id. at 44).

        Outside counsel continued to e-mail with Rais throughout December seeking return of the

USB. (Id. at 44–47). Rais did not return voice-mails on January 2, 2019, and January 4, 2019. (Id. at

47). Intel submits that “as of January 2, 2018, Rais has stopped communicating with Intel and has

made no arrangements for the review of the USB Device.” (Mot. TRO, Dkt. 9, at 10).

        On the basis of these allegations, Intel asserts causes of action against Rais for

(1) misappropriation of trade secrets under the Defend Trade Secrets Act, 18 U.S.C. § 1836 et seq.

(“DTSA”); (2) misappropriation of trade secrets under the Texas Uniform Trade Secrets Act, Tex.

Civ. Prac. & Rem. Code §§ 134A.001 et seq. (“TUTSA”); and (3) breach of his employment contract.

(Compl., Dkt. 1, 13–23).



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        On the same day it filed its complaint, Intl filed this Application for a Temporary Restraining

Order (“TRO”), Expedited Discovery, and a Preliminary Injunction, in which Intel asks the Court to

enter an injunction:

        a) barring Rais from using or disclosing Intel’s confidential and trade secret
           information;
        b) requiring Rais to immediately return all confidential and trade secret Intel
           documents to Intel after appropriate evidence preservation measures are taken
           for this litigation;
        c) requiring Rais to immediately return to Intel the USB Device that was used to
           download confidential Intel documents from his Intel computer on June 4-5,
           2018;
        d) requiring Rais to immediately identify all computers to which the USB Device
           had been connected after June 5, 2018; and
        e) requiring Rais, after returning all Intel documents, to provide a certification
           under penalty of perjury that he is not in possession of any Intel documents.

(Mot. TRO, Dkt. 9, at 2–4). Intel further requests an order granting leave to conduct limited,

expedited discovery to conduct a deposition and serve requests for production in order to determine

what information Rais had retained and whether it has been used. (Id. at 19–23). Finally, Intel

requests the Court to enter a preliminary injunction following a hearing. (Id. at 3). Intel does not

request a bond. (Id. at 19).

                           II. TEMPORARY RESTRAINING ORDER

                                              A. Legal Standard

        The party moving for a TRO must establish that: “(1) there is a substantial likelihood that

the movant will prevail on the merits; (2) there is a substantial threat that irreparable harm will result

if the injunction is not granted; (3) the threatened injury outweighs the threatened harm to the

defendant; and (4) the granting of the [TRO] will not disserve the public interest.” Clark v. Prichard,

812 F.2d 991, 993 (5th Cir. 1987). “A [TRO] is an extraordinary remedy and should only be granted




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if the plaintiffs have clearly carried the burden of persuasion on all four requirements.” Nichols v.

Alcatel USA, Inc., 532 F.3d 364, 372 (5th Cir. 2008) (citation and quotation marks).

        Upon reviewing Intel’s motion, the Court will grant a TRO barring Rais from using or

disclosing Intel’s confidential and trade secret information. The Court will consider Intel’s other

requests for injunctive relief at the hearing on the motion for a preliminary injunction.

                                                  B. Discussion

                                     1. Likelihood of Success on the Merits

        Intel argues that the Court should enter a TRO on the basis of its trade secret

misappropriation claims under both state and federal law. (Mot. TRO, Dkt. 9, at 24–27). To grant an

injunction, the Court need only consider whether Plaintiff has shown a likelihood of success on the

merits for one of its claims. City of Dallas v. Delta Airlines, Inc., 2016 WL 98604, at *7 (N.D. Tex.

2016), aff’d in part, vac’d in part, 847 F.3d 279 (5th Cir. 2017). At this stage of the litigation, the Court

finds that Intel has shown a substantial likelihood of success on the merits of its trade secret claims.

        To establish trade secret misappropriation in Texas, a plaintiff must show “(a) the existence

of a trade secret; (b) a breach of a confidential relationship or improper discovery of the trade secret;

(c) use of the trade secret; and (d) damages.” Daniels Health Scis., L.L.C. v. Vascular Health Scis.,

L.L.C., 710 F.3d 579, 583 (5th Cir. 2013). To qualify as a trade secret, the owner of the information

must take “reasonable measures under the circumstances to keep the information secret” and the

information must “derive independent economic value, actual or potential, from not being generally

known” by another person who might obtain economic value from disclosure or use of the

information. Tex. Civ. Prac. & Rem. Code § 134A.002. As the Fifth Circuit has explained, “[a] trade

secret is any formula, pattern, device or compilation of information used in one’s business, and

which gives an opportunity to obtain an advantage over competitors who do not know or use it.”




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Daniels, 710 F.3d at 583.

        Intel asserts that the trade secrets here are: technical, financial, marketing, and strategic

information related to Intel’s new product in development; communications with senior Intel

personnel regarding the product; technical information related to other new products under

development; and the specific documents copied to the USB Drive. (Mot. TRO, Dkt. 9, at 12).1 As

an example of the sensitivity of these materials, Intel alleges that Raise downloaded “a 63-page

compilation” of details about the new product under development that includes “technical

diagrams,” and “explanations of risks and mitigation plans for the technology.” (Id. at 13). Intel took

reasonable steps to keep the information secret by managing electronic access to the materials, using

a data loss prevention program and DLP alerts, and requiring Rais to sign a confidentiality

agreement in his original employment contract as well as the trade secret acknowledgment form

(TSAF) the week of his departure. (Id.). Intel further states that the alleged trade secrets derive

independent economic value from being unknown to their competitors because the materials relate

to a new and unique product offering. (Id.). If the information was disclosed, it would enable Intel’s

competitors “to revise their product plans to attempt to build a similar and competing product,” or

for any competitor or hostile party to “pinpoint any weaknesses in Intel’s plans and exploit them.”

(Id. at 14). Based on this evidence, the Court finds that these materials constitute trade secrets.




1Intel specifically lists the following trade secrets allegedly misappropriated by Rais: “(a) technical, financial,
marketing and strategic information related to Intel’s new product in development for which Rais was a
program manager, including product plans, roadmaps, product features, cost information, information about
the new products interrelationship with Intel’s new Foveros technology, and the development schedule;
(b) communications with Intel’s Chief Engineering Officer and Group President and other executive
management in the form of weekly updates about Intel’s new product under development for which Rais was
the program manager; (c) technical information related to other new Intel products in development on which
Rais had some responsibility, including product plans, roadmaps, product features, cost information, and the
development schedule; and (d) the documents with the hash values listed in Appendix A that were in the four
product folders on the Company Laptop and transferred to a USB Device.” (Mot. TRO, Dkt. 9, at 12). The
specific documents that Intel’s forensic examiners were able to identify are listed in an appendix submitted to
the Court. (See MD5 Hash Values, Dkt. 9-3, at 24–32).


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        Misappropriation under both federal and Texas law means (A) “acquisition” of a trade secret

by a person “who knows or has means to know that the trade secret was acquired by improper

means,” or (B) “disclosure or use of a trade secret,” without consent, by a person who used

“improper means” to acquire the trade secret.” 18 U.S.C. § 1839(5); Tex. Civ. Prac. & Rem. Code

§ 134A.002(3). “Improper means . . . includes theft, bribery, misrepresentation, breach or

inducement of a breach of a duty to maintain secrecy.” 18 U.S.C. § 1839(6). Tex. Civ. Prac. & Rem.

Code § 134A.002(2). Here, Intel’s evidence shows persuasively that Rais knew that the materials in

question were Intel’s trade secrets, and that he took them by improper means: he signed two

contracts promising to protect the confidentiality of Intel’s information; failed to turn in his

Company Laptop as directed on his last day; and copied files marked as confidential, fourteen of

which triggered DLP alerts. His month-long delay in returning the Company Laptop, avoidance of

meetings or communications with Intel, and ongoing failure to return the USB Drive—now six

months after his departure—further support a finding that Rais knew that he had wrongfully taken

Intel’s information in breach of an express duty to maintain their secrecy.

        The Court therefore finds that Intel has demonstrated a substantial likelihood of success on

the merits with respect to its trade secret claims at this stage in the litigation. Having made that

finding, the Court need not address whether Intel met its burden with respect to its contract claims.

                                C. Substantial Threat of Irreparable Harm

        Intel submits that it has a “reasonable fear that Rais will not honor his continuing

confidentiality obligations” and that his possession of the alleged trade secrets “pose a significant

risk to Intel’s business interests.” (Mot. TRO, Dkt. 9, at 17). To protect against the threat to Intel’s

competitive advantage, Intel seeks an injunction (a) barring Rais from using or disclosing the

information; (b) requiring Rais to immediately return “all confidential and trade secret Intel

documents” to Intel after appropriate evidence preservation measures; (c) requiring Rais to



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immediately return the USB Device; (d) requiring Rais to immediately identify all computers to

which the USB Device has been connected after June 5, 2018; and (e) requiring Rais, after returning

all Intel documents, to provide a certification under penalty of perjury that he is not in possession of

any Intel documents. (Mot. TRO, Dkt. 9, at 3).

        To meet its burden to show irreparable harm, a movant must show that “irreparable injury is

likely in the absence of an injunction.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008)

(emphasis in original). Additionally, the plaintiff must show that the irreparable injury will occur

“during the pendency of the litigation” without the TRO. Justin Inds., Inc. v. Choctaw Secs., L.P., 920

F.2d 262, 268 n.7 (5th Cir. 1990). An irreparable injury is one that “cannot be undone by monetary

damages or one for which monetary damages would be especially difficult to calculate.” Heil Trailer

Int’l Co. v. Kula, 542 F. App’x 329, 335 (5th Cir. 2013) (citations and quotation marks omitted). A

party is at risk of irreparable harm where, for example, they might “lose a competitive advantage in

the industry.” Welsh v. Rockmaster Equip. Mfg. Inc., 4 F. Supp. 2d 659, 668 (E.D. Tex. 1998).

        The Court finds that Intel is at risk of irreparable harm if Rais uses or discloses the Intel

materials allegedly in his possession. Once a trade secret is disclosed to a competitor or to the public,

the special value of the material is destroyed or substantially diminished, establishing irreparable

harm. Id. (quoting State ex Rel. Faith Hosp. v. Enright, 706 S.W.2d 852, 855 (Mo. 1986) (“Once the

proverbial bell has been rung, its sound can neither be recalled nor subsequently silenced.”)). A

technology company’s new products can define their competitive advantage. Rais’s alleged

conduct—keeping the Company Laptop for a month, copying protected files, avoiding

communications and meetings with Intel, and thus far refusing to return the USB Drive—indicate a

real and substantial risk that Rais might use or disclose the materials absent an injunction, to Intel’s

irreparable harm.




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        However, the Court is not fully persuaded that Intel will suffer irreparable harm

absent a TRO granting Intel’s other four requests for relief. So long as Rais does not use or

disclose the materials, the risk to Intel’s competitive advantage is substantially reduced. The

Court finds that the immediate threat to Intel’s competitive advantage is adequately

remedied by a TRO barring Rais from using or disclosing the materials.

        The Court will consider Intel’s four other requests for injunctive relief will be

considered at a hearing on their motion for a preliminary injunction.

                                       D. Balance of Harms

        The balance of harms strongly favors temporary relief for Intel. Absent an injunction, there

is a substantial risk that Rais could disclose trade secrets that could undermine Intel’s competitive

advantage, causing injuries that would be difficult to quantify or compensate. A narrow injunction

preventing Rais from using or disclosing the materials only imposes the burden of inaction. This

factor strongly favors Intel.

                                           D. Public Interest

        The public has an interest in the enforcement of state and federal laws. Intel has made a

prima facie case that Rais misappropriated Intel’s trade secrets under both the DTSA and TUTSA.

See supra, at Section II(B)(1). The Court also notes that Intel attempted for six months to negotiate

with Rais before pursuing a remedy against him through the courts. At this stage, Rais’s conduct

suggests that an injunction is necessary to compel his cooperation with Intel’s efforts to protect their

trade secrets. There is no evidence before the Court suggesting that ordering Rais not to use or

disclose the information would disserve the public interest. The public interest strongly supports

such an injunction.

        Having found that Intel has shown a substantial likelihood of success on the merits of its

trade secrets claims against Rais under Texas and federal law, that there is a substantial threat of



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irreparable harm to Intel’s competitive advantage absent an injunction, that the balance of harms

favors Intel, and that the public interest would be served by an injunction, the Court will grant a

temporary restraining order barring Rais from using or disclosing the materials.

                                             II. NOTICE

        A court may issue a TRO without notice to the adverse party or its attorney only if:

        (A) specific facts in an affidavit or a verified complaint clearly show that
        immediate and irreparable injury, loss, or damage will result to the movant
        before the adverse party can be heard in opposition; and
        (B) the movant’s attorney certifies in writing any efforts made to give notice
        and the reasons why it should not be required.

Fed. R. Civ. P. 65(b)(1)(b). A court may enter a TRO before hearing the adverse party where it

would afford an opportunity for the defendant to undermine or evade a remedy. See Sanzone

Brokerage, Inc. v. J&M Produce Sales, Inc., 547 F. Supp. 2d 599, 604 (N.D. Tex. 2008).

        Intel has provided sufficient grounds to enter a TRO without hearing Rais in opposition. (See

Notice of Certification, Dkt. 12). After filing the application for a TRO, Intel attempted to

personally serve Rais at two different residential addresses in Austin. (Id. at 1–2). On January 10,

2019, the date of this order, counsel for Intel telephoned Rais and gave him oral notice of the filing.

(Id. at 2). During that conversation Rais declined to provide an address for personal service. (Id. at

2). Counsel for Intel then e-mailed a summary of the phonecall and copies of Intel’s court filings in

this case to Rais’ personal email address, by which they have communicated with him previously. (Id.

at 2; Scatena Decl., Dkt. 9-3, at 35). The Court agrees that Rais now has actual notice of the pending

application for a TRO.

        The Court finds that Intel has met Rule 65’s requirements for relief without hearing Rais in

opposition in light of the ongoing risk of irreparable harm to Intel’s competitive advantage; Rais’s

continuing possession of Intel’s materials despite six months of negotiations to return them, and the

ease with which Rais could frustrate the Court’s ability to preserve the status quo by disclosing the


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alleged trade secrets. See, e.g. Alamo Lights, LLC v. Four Bros Lighting and Bulbs, Inc., No. 1:18-CV-187-

RP, 2018 WL 1404406, at *2 (W.D. Tex. Mar. 20, 2018).

                                  III. EXPEDITED DISCOVERY

        “Expedited discovery may be appropriate in cases involving applications for a preliminary

injunction.” Legacy of Life, Inc. v. Am. Donor Servs., Inc., No. SA-06-CA-0802-XR, 2006 WL 8435983,

at *1 (W.D. Tex. Oct. 10, 2006) (citing El Pollo Loco, SA de C.V. v. El Polio Loco, Inc., 344 F. Supp. 2d

986 (S.D. Tex. 2004)). A court may grant expedited discovery based on a reasonableness or good

cause standard, considering the totality of the circumstances. Id.. Courts may consider “(1) whether a

preliminary injunction is pending; (2) the breadth of the discovery requests; (3) the purpose for

requesting the expedited discovery; (4) the burden on the defendants to comply with the requests;

and (5) how far in advance of the typical discovery process the request was made.” Id. (quoting In re

Fannie Mae Derivative Litig., 227 F.R.D. 142, 143 (D.D.C. 2005)).

        Here, a motion for a preliminary injunction is pending, (Dkt. 9), and Intel has submitted

short lists of requests for production, requests for inspection, and interrogatories. (Proposed Order

for Expedited Discovery, Dkt. 9-2). The requests for production and interrogatories total seven

relatively narrow questions that Rais could answer with minimal burden. Even if he is currently

outside of the United States, he could respond to these quickly by e-mail. The Court finds there is

good cause for Intel to conduct this narrow discovery in advance of the hearing on the motion for a

preliminary injunction.

        At this time, the Court will deny Intel’s request to inspect the USB Device, any computer to

which he inserted the device, and his personal e-mail accounts because these would present a greater

burden on Rais. Given that the purpose of the expedited discovery is to prepare for a hearing on the

motion for a preliminary injunction, the Court considers that Intel’s requests for production and




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interrogatories will be adequate discovery to prepare for that hearing. Intel may pursue discovery in

the form of inspection at a later stage in this case.

                     III. THE PRELIMINARY INJUNCTION HEARING

        Ordinarily, a temporary restraining order must not exceed 14 days. Fed. R. Civ. P. 65(b)(2).

A court may extend that period for good cause, but must enter the reasons in the record. Id. Due to

the Court’s trial schedule, the earliest available time for a preliminary injunction hearing falls on the

day after this TRO would expire under the 14 day period, which is January 25, 2019 at 9:00 a.m.

CDT. The Court will therefore extend the TRO to remain in effect until the end of that day,

January 25, 2019, at 5:00 p.m. CDT.

                                          IV. CONCLUSION

        Accordingly, the Court ORDERS that Intel’s Application for a Temporary Restraining

Order, (Dkt. 9), is GRANTED IN PART. Specifically:

        Shahil Rais and his agents, designees, and representatives are ORDERED not
        obtain, access, use, transmit, copy, or disclose any of Intel’s confidential, proprietary
        or trade secret information, including but not limited to technical, financial,
        marketing and business information regarding Intel’s new product under
        development for which Rais was the program manager, its other new technologies
        and products under development about which Rais received confidential
        information, non-public confidential information about Intel’s Foveros technology,
        or any of the documents identified by hash value in Attachment A to this order.

Intel’s motion for a TRO is DENIED with respect to all other requested relief.

        Intel’s request for expedited discovery is GRANTED.

        Rais is ORDERED to make himself available for a deposition the week of January 14, 2019

in Austin, Texas, or near Intel’s headquarters in Santa Clara, California. The deposition shall be

limited to five hours of testimony and shall not preclude Intel from taking a second deposition of

Rais during the regular discovery process.

        IT IS FURTHER ORDERED that Intel may serve the following expedited discovery

requests consistent with this order:


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       Requests for Production

           1. All documents and materials in Rais’s possession that were created,
              developed, or obtained by Intel or its agents.
           2. All documents and materials in Rais’s possession reflecting Rais’s post-
              termination transmission, sharing, saving, or printing of any documents or
              materials created, developed, or obtained by Intel or its agents.
           3. All documents and materials in Rais’s possession related to Intel’s business
              that he obtained by accessing—or asking others to access—Intel’s computers
              or networked systems.
           4. Documents reflecting all terms and conditions of any post-Intel employment
              offered to Rais, including but not limited to offer letters, contracts, policy
              acknowledgments, and job descriptions. v. All documents reflecting any
              communications from May 7, 2018, to the present date, between Rais and
              any company (other than Intel) engaged in semiconductor manufacturing or
              process technologies.
       Interrogatories:

           1. Describe all Intel documents that you downloaded to the USB Device on
              June 4-5, 2018 from your Intel laptop.
           2. Identify all Intel documents in your possession, custody, and control today,
              and state the physical or electronic location of those documents.
           3. If you have shared any Intel documents with anyone outside of Intel for
              reasons unrelated to Intel authorized business, identify the person with
              whom you shared the information, what information was shared, when it was
              shared, and why it was shared.
       Rais is ORDERED to respond to these expedited discovery requests within two days of

being served with such discovery, unless otherwise agreed by the parties.

       The Court will hold a preliminary injunction hearing on January 25, 2019, at 9:00 a.m.

CDT. The Court will not require supplemental briefing, but any such briefing must be limited to a

maximum of five pages and filed on or before January 22, 2019.

       This order shall remain in effect until January 25, 2019, at 5:00 p.m. CDT.

       SIGNED on January 10, 2019, at 5:00 p.m. CDT.


                                                      ________________________________
                                                      ROBERT PITMAN
                                                      UNITED STATES DISTRICT JUDGE



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MD5 Hash Values
f4e2a54e25359d8b05751c6160e16cd2
8b55834a9bce512fab12adb7061932a6
9628a5a8f39fe44a3eb3694d343f1568
8e1ca29a78aae9c0df82e03b9d3ce4a7
838b0d2d4bc2301144dd29266441ac1d
ab0809dfb2c754a71fbc34960f285383
aae85590ed0f063bc6ded672cb4a4763
8af7b129fe1728a52e0b19f1bb459a9a
972b50f891c2f9c321e128b16936da93
722b4af4418829cf632b432ff869cb66
b163018602d69837a32a5d7ffa9a0bbc
56a2d84adfac03986c7e3dd694e4b396
59ec5d6287bc08a316541cd4a981fc32
55a1da54df31c34b912e0926b1ad3397
34e94a25fa39f0139ce3ae0a8e39e608
be09a7c333b0bb5c8554f02301a7ea65
ea9ed7594db92eb2e61e2d126e35946e
458ed599d3fd48f3592e8d0399f30803
830c0f3a57311618a24e249d16a3bde9
6f15502b4ceae4202e77090825249e3f
884c7f6f475477fc407d2a2408bbd2ee
fb70e14451f680c6c469867a06529d44
f551b425f6508fe1c71f776be82ace28
f7075a0d41870b1dc1d70eafcf204302
6e2ec31781cd1d6e94a3bb90b936f04c
1a05f836c5d9b3c855c4b40dce5cc297
97a36ba016354114f862568796ce8676
bd9314566ca2cb477580d0d84360aad6
cfa656815057acd45d2eb5bcd7f1c390
e6274b7d7aeb46204792dfd9a951c479
98b9d20dd0d055f6571fa7d6823807b6
090eaca4e159977fd90ea6830927cfe1
ce3d965f6cadac455eeff81b5d617511
ebcfca2b4e424d9b99ebe9f75d2d0924
fa43dd3c2e23160f518df88aebc69a09
085cf2a60f045ba35b8d11b906b439d8
f4b55e1a8e4a26be2f7e7f7ac098c4fd
3d075b77732a40186d3b5a65979da6da
6636b7345cec26f6e8dc3e1609c35a95
292a89a912dd40575321ebe2cfae1226
793c187980b39b3c33f16148aecc80bd
b542a64509b2f73ef4e2a92cd1548aa1
9f81f2d0f84f23927ec2c6d180a24d12
a45dc1e8661292129ddbf6dcbfde8489
887c8ed73295b13daab6b3b2b2070971
cc02664fcb5d150e9c1f5e3871ffe428

                                        1
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f68e4c7765a9c05877fa1a2cceed1c08
4e836fd9eb09d7e40576953cad30c3f6
eadb3b4652f7028f1e7ad5a760d67fe4
b827e920e197a665a0e6e05417a2a9b0
6fa8f773bb52cb9dafaf4e34383463a3
7db9d954d3e4ae16f23d06a36ba7c9a0
ee48a28c1a331ea9cda5ea5a24a5c4db
866785922b0b9006835c757da77ee4ce
cbf1b1985132d73976361df41e8e0625
38dbfbc5075e7b1ce91d053647d57ef8
57bfa7eb6ef61e0ca23444a5bd20a4ab
6771995b29a1ffef5b8b9590577e8ea1
196e9129261f2c7ae1ef8f6618c7e412
6e3831931c24727fac9898e30683919f
1a7834a4142e6a1fef20005ccbb26935
52353ac77931a37b6c4b98686fae663f
adf7ee51d2dbb9d47aa58b7db8e2f231
e737334e0af2e4849feb0e37636bdea5
c4521139aff0d6b15286a8eb9fd5eb1c
ffc5ca8b1af702dde2d22a3204350f24
25fed46fdf8b1b0184084b36231f2078
dc9dd13074d483d9929f64586ee65170

01761c3a952661f7cfaf03631580b48c
725f4e3cdde84a9d96867530c7720793
0de407f99f038161c896459fb47793b1
66c90fcb933906bb1c0f1a9630578b17
ad8a8baebd048cce61f7803629fecc72
4a55dafce8077f0490d960bda7e0c1c9
8a43e8a8e8e5c2d152ba4b5e62c74f99
72caa66c889ead28b471036ffcd3d68f
4231b89750f6e5e8525174cbe1d7768d
d2b38e8249d613d1669ba0c1075f53f1
bff029796077f885dba7d09c46f80726
36fad708ab614f397788561b0bcb74ca
0e55e8c9a0a94c41ea0690f246620143
63af136807e35284374a25545820ab09
6cea1c697d8fadb7be970ccb59d02451
2c83e74ddc777f6a4b929d83e44e5ab2
d45ba14a88070e8cb1787d4f928be348
370d9175b36815463316feee7a6032bf
ab9a6395505ab2912fa4c6d7927cf359
dc474d57c58a24b51f3994e53f6bfa0b
1a6980deec2494bb62f8679070b08916

9a0e0eee33a372b254ff3c3a53b33d77
b7cd165db148e49218ea8e2c680cd322

                                        2
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f9fd22dc2e8acb92670ee9e2a4f938c3
3cf5c03518b75996d6e2f9c0b8cc3fce
0fb3784307c4ea286b895a7f6325572b
f61360eb5585417cc82da456453e159c
f556b8f7da88e3fb754252fd4c73c45b
f9487d04aa07c0bc310d6eed2712dd65
de216fe6ec90b6750b46b55a11bc2091
dc9e1bc031de54b8a195ca1e6a9946bc
79ea593f8a836c761742e75a96a8deb8
d174bbc3849b1141843ba03394b0979d
4b6b3dcc084cbc010672137e8ffdf2b6
06ddfdb82fe110eb5b87b13df85d87ce
8fe29611d7378489c7c0a5fd7da83599
6ffcf6eebc6cf948dd0f919f8b05e94a

b1947284568b34c1de760e6eda000f7b
bd1b80120708bda686195f9708ce750a
50f7e5a35039f487c2037ce5fa73c056
05a2439c746c8c2d88f6e9070eb152c5
5ec2820b3096cf909e9e3ee5c7710e33
d22a3aeb3add3cf82ce12c7f60a88913
e619766b8e8b790d99be09bf73f64a53
2190a726ceb2d665aeead776c82a7322
5b7adb61cc8a36c40e5519903baf33c0
747449d537c97bb9e2559c02f70d2a38
c47c8fc2bf47c858a69353ffdfad18b2
be0170af9e38391ab924c1da5123164c
ea615d613c9e2b700ffb06f2051fd45b
7273d4fd9169cd2704639495dbdf3df4
15cec97f5ea1d509bcd5490b93e25cce
922b840a30d89564f2788b28b1b117f6
d11a8cd2b767437189c96ff81bf61a3c
1947cdd90ee2856f86b779978aadddfc
1f05a71a21bf712ef47f8db1cd0cf472
976ed7b39004e663c21149b62710833d
eeef8bed6552ba5546f04b02fae1eecd
8fbb2adf63f01735c62d30baf0f0695f
7a0c6a01bd0552eede58d4a51ddb7494
c288a17bbe9c1d4d394c27cd067839cb
7b721173a51f5e9c4beab7f28580aaa6
ce6d5a757512ba06dcbc1e2429c2dd05
1e8bba7458411c71b76f5adc114104ef
33ebca5cf18d54bd662911c1b5c55cb1
6eb5066940c151fd753b4808addb6f89
8e5526a58986d0908c319e887f957b66
9bb9a23ef88986a7ec375b13f3957a90
8d6b991dc5e313f36f72ca2451439988

                                        3
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9158a5cf4954d7e4e79bcd48e729f7aa
d33efc2ea998b2747dd0f573c793fa49
e903354c406acc0899796b357286e50c
744b5866fff565b02a93952b72ef4700
588caa04f007a40bdd27a7baee49967a
99c3df02a1f0806bbe96a4d06061dd59
88829107aa2cbcf24e8581ab44f65e63
84375e1a8d0e19e7e40ac8246977e20b
2ee7a22b3b9f2aa2e951ef9e19629c94
f27f95e5035f27a6f1125ae9ab4fbc5e
5faf9313a09ba1590d095df0dd8aa3ca
fff2f724cfbddf0cb8062b4578d16287
2f26b0556a8b5a4738a16e19b0df6e57
2e232c9252a1b98fe8488128977a0bc7
b3a0d49354f6a65d696d5ff5f6108970
1370fe7b47583187fc6ee068f4b90475
e071fb7a9e7dcac10237636de52b1315
ff3246e3aa1bb7682e022fd02a07274d
7183f1d5e8e05e3a753234da55563847
857a7f3485643a4b1790c9fe957f4d16
829c7054d4ca393fb00a99e35cf5e036
6e4f4b36604590b0b6fe877fe90d84c3
efcfd79546f283776ea735c11cbd7b8b
c32a6bce3633ddd9aedab41365f506ad
a0aaf562471e0a63bc2f6527bc755364
5a81e334f009c3d99799ab2dd1e65f31
8c4280ee20822cd22a43b931308483a2
77984df521b5086fc0fffc75f7de4239
56c6872a80634ed25382afc8d39d5fcf
9c100eb43478f17df46bbec18ac74dbe
1a37c7a9c80d166ece01ad05a30d0a97
6309e9a11062ce85197b1860d474d151
833b7423b4ae8483ec450c3eb9a826f8
1881676cddd4ecab5d8eb948c0e9b5d3
98ce5b42e6fa0ab7cafc4b2bb383bff6
fb1aeaa294e7e863b7e2eb777515ea77
039fa57e395295c75d47074b73303867
75c579bf9e5a06d2cd3520003ccd4fb9
cbe24c1d9e6de6994bcc209e275ca2a5
39c6ca0816fe8088a4388ecafcd88260
0666d601c96d7f6f4994ec4ee097b50a
4e32b7690b170c5dd051d646d38e874a
2781d76dd82696ef3474b9ba27b4a10c
67d12486a2aa1098677e2a3b8a7efcf4
fc9aaea8d264afe70e029ca80508e9ea
bda3d9a4c7e4b93b61521076adaba32b
b2f96c57680e02cd8a5719514c188bcc

                                        4
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d063821da6f0c127f3b2751af8385130
d4eaa33193216d5dd091983f524e2c37
59f8812975932c52e9928ebd8bae45c7
69b9366c6b524f769b149205c15287f6
4b96dd64f8d485e428630ed9702d463b
b30c958003d7126d9d90ac7467a3538d
e16579aa8b63665daf4cab45726c869d
3fa5fea93a6bd6366d3e704d0d49c2ad
f8b9f7fe1a266172893b1008862a7ab5
701227c4b57d308a6702f3f36dc5eee7
dafc5ee879638327359fabbd64e1d0b1
62fedb43a2fde424d2ba987897076b8f
1d38b0924ca2cb60458f6b3123a6a6bc
328f2b490ffe4386889dda8e1107b9ce
fe278c650556206834379e76d5885e39
e44eaf8cc9ad3060a45a95b6736d36d1
0937a2a6f53c6ee59937c0dc2e9be548
b931f6ecb592ca6682c6bfc7b2af53f5
a51a0d517e1d079cdc1e8e425c3c9715
234b8fb05b7d1fbed56d13a420a99110
8e827cc8a81ee2e7f24f8328403bb599
c07998c269e5e910a0e67cf308d50215
eac1de71b81fdb5fcc844651ad835af3
6e2468c03627caa5fa2f9b3636aad2ce
5f88e1d46ffe7b1384ca83cfa9a79971
1e3d3f216b52f67d42c12dc6f47f77fb
8e13533c868127dc15b1881dad8248b9
728c01b348ccb59d9f02c8efb30ad939
d72b7dc597a09941a6cc57b8d799cbd9
b01c0fe07b7292bff39daf49dbd72738
5b60f5a366171a53250d1f052fcc26b4
aec9ee41d5356ede1414a29871268912
e6ec7ef6df25cc4f71a373dfb78bd7b1
0b52cc361efc0aa2a3542172e07ae330
fefd3a546e2d5cd16df44791a972bf6b
a409aedb6292cdd1f85ca905ee4944e5
30117ae65462f8fdf0aceb979b8f0cec
a44239ff7c785120591bb41a7a924006
e0f8017bb08bfc69619d3f1a1a6803a9
59ce946f8052a26723c3919fb23791e8
93fd3deb6d7da0678e9ff8cb24265085
b2ecca07f8cacadde33e94f6242a32c3
7bc28878675c80e0de4c7801d0b63a27
0292dee39905ebc76f488b97b5779d2d
6e6b84599c1a9c3b53bfd6b42fe7dfca
e2b0bd40c78fc376a051ebb2f93dafa0
2b5bfc124068273d4459c58365976fc6

                                        5
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84f12e0bc18c49bf87b0e65e71ef20a4
68f6471cea7356e01868f65308ad7194
54a8e02b3a42f6cc4d27f44ee6998efc
254e154622eae5b5f3531cd5ce797635
390bf1f0b66fc19b41dc4c3557420567
e5917fe98c2e34fac51b119b6b6322f0
09d913ae239293a3061dcc1bae68e38a
9c4e10ffa9a4a1c6d1352e32bea70327
f1c17492e7fba4ed161fea5f42e17497
8ca8c51238479aa1339dfe5ac7435dfc
9ac1d47b4555697bca44002c482bcc5b
4122f4ad5363f3a41c9e77592bea8234
50bd2144a8ff7b97285ae685d2b2d0da
b2b27edc77d0d30083cd2353ef233df0
823e882b881f000c44e5b020619c9c8f
9dabb93e76ed8be3894901c0589631e1
7ec852ada21d8b5f87f90b5b2f671206
028b6dfad1478cd222467e9da66e2bee
fe88cf549448df03fcf98592273c1aef
aa04c1dd812bf4a9320e01da76c91d31
94cb6e3b5513285f4f4e2d87d7f45d71
57c63fe361e76fb30e7d7e63172b7996
5772df291e5d21184ee5c741b052d1b6
9934c12227f3d9860c0e763d1c030af9
e9c35d48a58d474f73acae8a7fd6e86e
d39598be24086d0a5880a7538a88f82b
9fb227eeef4300f504365f98692ca344
d28e18e16b71c28d8a042a27127cfbb7
09eb7ee27c6f1bdbcb3f1824da451c41
47adcf5acf250b59515aa0783e8d98e4
7ae26863cad795c152a3fa7fd3385faa
4cb2ce2d76d563de8e2478d827b95e52
8562cf9ced57d8ee4b50b84d0ccd6334
b5bc9c5906936f4f750312d175aaf0c3
48c420baf96d5d968504bf0d7d640ed1
178ffc1f8e65d822338cfb030ee35a87
1cedfd3b7d6ace24380b87b9825dbb00
eaa7d4978904a4783ffa52e62059a47c
e52a383208377dc62e856203a96736ec
053384cf450da5955b101e98bef3f786
dfb0776aa8420d718c38c41e07799ba0
93f1090e14f3ffab01bce894069f6ad9
a8b5d4431d578dd50d7c1ebf066cd855
8157c9daed7c77d0b22ad5c697ded6c0
20cb5be7abc00fed0e7135e6d40715d9
76683e6c253f46f242308abc7968ba49
67574d2b9148c2740d2d3896d5d685db

                                        6
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388b57a673c280729dcce216fc669d63
cd5f9c575eea0262186f5de5bf5151b6
25144f66a2809503c084dcf291568c07
c20ca981630134ca1d6a06b4c1c9331a
88029e5fe6f3056812c959b566307c7c
26df62b50fbec906a037ff608e08651b
12a309e82e9e90455ef5dd2921efc701
c4685bf5fcd501ca53e05013e50188ba
8f3c6c24d687b8d95fcebc82339cca4a
67d69cb6fd738ada84420fa4c8c0b88d
e84ab0efacdb78d6d47c0ba764ce3e80
fa65a24804a78635f9fbf95088271a59
62b78a9b40a7e4cb4bb813377ae23056
f2cbd86af11c9c60e792a9d8c53c8e85
22f2a58d8bce0e7c683d26ea58423331
48ecd67e964e28fb927d4f5849ca8a77
ef6ba002646ffe0b2937aa24243b6fe2
52c24180332390bdc8ada08631679005
dee188f6ad63708b1c848c36d71b8cdb
d12106fc973515c348cfd7cdc25f5c73
c7d83e26858bf977a304050627895f65
d43171b05bb2b6a0186c160608c3f4e7
8b7cbe04fc06266668008864cb9298d7
6121096bf1db73a363839e7c4a945e02
f664f026ef9099eb036a4f4377cb7c04
a59a8a1d66abbd89c62619d026556395
6d068821ec2fa318b944a93cebe0c663
94022a3bee2d0e6daf29c240cbf1bea0
3d3d4a38b26c703c797f8a72ce6e27fc
3895ae8af3b45599dd98113991b35275
a48613d7674d42a4b88cd6d549eaffd9
abd85808eb2679e3dcddc2bb40390340
0369f209c1f8da46953db5ba31d47026
158bd3d48cfe79cc9ffd00b5355f2ce8
335d5f7c22bdc45455a2402f3c4ca990
7443cf6e81bcad5c8651aaeecf53a10a
fbdf6baf5402ec3107764246d59b0063
843b49a63762d838a2d13b7b7f68c7e9
3b64fb7644106b0f3d353b5de11687e3
1fa7669415f31678d5f0661a19353400
b905b17e8bcd02a66216720b7249ba1c
3608789f6013c87f330870769d752c45
0bb1cb29b344453c1d82175ffb024823
79233cea686049463fc39cf1c4795574
549bdc34f81f0f862ba76b3f63fc57a1
0f6e1722b4f81d206bcacf8abf393706
12b18980269ce53387c1dc5e23de0bf7

                                        7
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3f765d85e0df129bab0eb30d4e100847
84a7ec7a2db127cd313f3cb3187ac7a1
fd437cf98ca096cf41c648533b5e19ec
47ddd037444eaf47a1520a64bfa59033
e9aad8b7dc67d9a9e7487c3908cc8025
4d698b156926830ce150956bb80cd33a
f2174e947ae85bd98d87d8ecb2f3f0a1
40c88bca36122d22c9edf5301b56d488
41abf64d9fe66ac806df3c4e5c26517b
0bf0c2b39aed9e66ae9ae0b623490d00
04429145c23545cf3571bcf9fd305ab6
b798427b983a9ae20a78d3cec7606180
d99cb2c83950cf0462e69cbde59ab9fb
5072b55e505556df9dd94caa1fff3575
17f00d366b215b0ae50e9c672b8ec10c
15899fc393299706fb5c842a7bd618f6
f4168ecd6abfbd3fc5484142940a9c28
db7d522db8f6950ed9d85a4678c52a89
451869e0c3d8868cfb22c8921ef02e64
c762d240cf919e0f011fe1507c447d2f
12aa881a632fec20d8e4efb7355711cc
9045bf1dfaf3c102e34e96b22258bc83
5e8f49b3519535d9ddaba72d5da25a71
b4b9c96bd616c1b323566c3a53d58763
b3dcba86a8ad0ce798409aeb44d75aa1
abc9eb9b8a06c166ab8774c4a5e35960
4e6776f0eb8cd658f7298276cd3103f3
080367ce8c7d72e9546cbeaade43548a
bdb13150e2b38db99c684a0c3fd5f23a
440e5a2af6f4b2123a2c3436d2605aff
b99e0645cf758cf2bb483cac723044bb
825558c1459a9fdd8591d2d8609ddf08
803caae4081a50d0a75e34e7bbd67be7
8a62be564d80ef1c4cdbbb994c863539
34a33c386ce624e83beac2164e1e3efd
90d8f53b897276db99de444dba5b21c9
5c48b1ff3fb7a0ee6f0760543615f7b2
04f68325e7b9d72b902bd6f55b4872ee
869d5cbc012d8192b9094d2733e023d1
a395f437caa14f8a12e320d00dd0ddd7
6e70f73b2a1bfb529bc572d80b29355c
de841a2876340754acfdffdd793ed256
98d32cf31234581e2154677faa2f110f
caa9ba2b416b8ebde397eaae38ee6456
87fdd4ca0922957127cdbbc8c9bf77c2
4e410df6337e3f1c2f77ba4b3cd4e5a0
8f98e033f85a5fbebe7849d47cf1d92e

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                                                                    APPENDIX A

7b890855533652b59ab69fb067f0b862
d272b9768a67d599ee605f29d8785476
5e5ea83d8058f4e2101d26db7e915c49
fd4ed1c5093b29feecda70fb7d76d222
8536c7c11f62acc0f44d88dd44115589




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